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      SIKORSKY AIRCRAFT CORPORATION
  8   AND UNITED TECHNOLOGIES CORPORATION
  9                        UNITED STATES DISTRICT COURT
 10
                        SOUTHERN DISTRICT OF CALIFORNIA
 11
 12   D.F., a minor, by and through his           Case No. 13-cv-00331-GPC-KSC
 13   Guardian Ad Litem, TASHINA
      AMADOR, individually and as successor       Judge: Hon. Gonzalo P. Curiel
 14   in interest to Alexis Fontalvo, deceased,   Magistrate: Hon. Karen S. Crawford
      and T.L., a minor, by and through her
 15   Guardian Ad Litem, TASHINA                  MEMORANDUM OF POINTS AND
 16   AMADOR,                                     AUTHORITIES IN SUPPORT OF
                                                  SIKORSKY’S MOTION IN LIMINE
 17                      Plaintiffs,              NO. 6 – MOTION TO PROHIBIT
      vs.                                         PLAINTIFFS’ COUNSEL’S USE OF
 18                                               IMPROPER TACTICS AND
 19   SIKORSKY AIRCRAFT                           ARGUMENT
      CORPORATION, et al.,
 20                                               [Filed Concurrently with Notice of
                         Defendants.              Motion and Motion; and Declaration of
 21                                               Christopher S. Hickey]
 22
                                                  Date:        April 6, 2018
 23                                               Time:        1:30 p.m.
 24                                               Courtroom:   2D
 25
 26
 27
 28


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  1                    MEMORANDUM OF POINTS AND AUTHORITIES
  2            Pursuant to Federal Rules of Evidence 402 and 403, Defendants Sikorsky
  3   Aircraft       Corporation   and   United   Technologies   Corporation   (collectively
  4   “Sikorsky”) hereby move this Court for an order prohibiting Plaintiffs’ counsel
  5   from utilizing improper tactics at trial including, but not limited to, use of the
  6   following: (1) any and all evidence, references to evidence, testimony or argument
  7   relating to the “Reptile Theory” or the closely related Golden Rule argument; (2)
  8   pandering to witnesses and the jury; and (3) suggesting to the jury an amount for
  9   non-economic damages.
 10   I.       ARGUMENT
 11   A.       Plaintiffs’ Counsel Should be Prohibited From Presenting any Evidence
 12            or Argument Based on the Reptile Theory
 13            i.      The Reptile Theory Is an Improper Appeal to Juror’s Concerns about
 14                    Their Own Safety and The Safety of the Community.
 15            In 2009, jury consultant David Ball and plaintiff’s attorney Don C. Keenan
 16   published a book, Reptile: The 2009 Manual of the Plaintiff’s Revolution (“Reptile
 17   Manual”). The Reptile Manual is based on the neuroscience principle that people
 18   are driven by the latent, reptile portion of the brain that is fearful and survival
 19   based.        The Reptile Theory focuses on awakening thoughts about safety and
 20   security in the minds of the jurors by appealing to their “reptile brains.” The theory
 21   assumes that once the juror’s “reptile brains” are triggered, it will take over the
 22   juror’s higher-order thinking and compel them to reach a result that best protects the
 23   community.
 24            According to the Reptile Manual, this is accomplished by couching the
 25   defendant’s conduct in terms of the perceived threat to the community’s safety so
 26   that every case is approached using an umbrella rule focusing on community safety.
 27   The Reptile Manual argues that plaintiff’s counsel should use this “umbrella rule”
 28   to override the applicable standard of care in the case at hand. Regardless what the


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  1   proper legal standard of choosing reasonably among acceptable alternatives, the
  2   professional must adopt the safest available choice to avoid allowing unnecessary
  3   danger, according to the Reptile Manual.        The second-safest available choice
  4   violates the Reptile legal standard of care regardless of what the “experts” say is
  5   acceptable.
  6         By focusing on community safety, the Reptile Theory seeks to influence jury
  7   verdicts by appealing to the self-interest of jurors, framing justice as an excuse for
  8   people to protect themselves and their families.” The Reptile Theory avoids the
  9   merits of the plaintiff’s claim by appealing to the juror’s personal interest in their
 10   own safety and that of their community and uses the plaintiff’s claim as a
 11   placeholder for subconscious fears that jurors harbor about themselves and their
 12   families.
 13         The manual’s authors urge that the key is to broaden the case beyond the
 14   specific defendant. Rather than focus on whether the defendant’s conduct actually
 15   caused injury to the plaintiff, the Reptile Theory examines whether the defendant’s
 16   conduct presents a danger to the community. To move the focus away from the
 17   actual plaintiff, the Reptile Theory asks what the maximum harm the defendant
 18   could have caused to an imaginary plaintiff, the actual facts of the case are
 19   secondary.
 20         ii.     The Reptile Theory is the New Version of the Proscribed “Golden
 21                 Rule” Argument
 22         The Reptile Theory is the new version of the “Golden Rule” argument, which
 23   asks “jurors to place themselves in the position of a party.” Caudle v. D.C., 707
 24   F.3d 354, 359 (D.C. Cir. 2013). The Golden Rule argument is “universally
 25   condemned because it encourages the jury to depart from neutrality and to decide
 26   the case on a basis of personal interest and bias rather than on evidence.” Granfield
 27   v. CSX Transp., Inc., 597 F.3d 474, 491 (1st Cir. 2010); see also Arnold v. E. Air
 28   Lines, Inc., 681 F.2d 186, 199 (4th Cir. 1982) (“The Golden Rule and sympathy


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  1   appeals are the most obviously improper arguments from a technical standpoint.
  2   Having no legal relevance to any of the real issues, they were per se objectionable
  3   in this case as they are in any.”); Har-Pen Truck Lines, Inc. v. Mills, 378 F.2d 705,
  4   714 (5th Cir. 1967) (“The real danger is that the sympathy and the feelings of the
  5   jury will be encouraged and aroused so that the jury will decide the case and award
  6   damages out of relation to actual fault and actual damage.”).
  7         Like the Golden Rule argument, the Reptile Theory seeks to appeal to what
  8   the juror’s believe is in the best interest of the community, rather than the juror’s
  9   impartial judgments based on the evidence presented. The theory intends to instill
 10   fear in the jurors so that they believe the only way to keep themselves and the
 11   community safe is to award a verdict for the plaintiff. The Reptile Theory has
 12   become the modern way that plaintiff’s attorneys attempt to have jurors place
 13   themselves in the plaintiff’s shoes. Such arguments constitute misconduct because
 14   they violate the fundamental concept of an objective trial by an impartial jury.
 15         These types of arguments have no relevance to the case at hand and are only
 16   utilized to sway the jury by appealing to their sympathies and fear. Fed. R. Evid.
 17   402. Prejudicial evidence that is used to create an unfair emotional bias against a
 18   party is prohibited by Rule 403. Accordingly, Sikorsky respectfully requests that
 19   this Court exclude Plaintiffs’ counsel from using the Reptile Theory and/or Golden
 20   Rule arguments, as they are based on irrelevant evidence and are intended to create
 21   undue prejudice and mislead the jury.
 22   B.    Plaintiffs’ Counsel Should be Precluded From Pandering to Witnesses
 23         and the Jury
 24         Plaintiffs seek to introduce at trial the deposition testimony of a number of
 25   witnesses. For many of these witnesses, Plaintiffs have chosen to designate portions
 26   of the transcript where counsel, on behalf of Plaintiffs, praises the witness for
 27   attending the deposition.    (See compilation of Plaintiffs’ designated testimony,
 28   ///


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  1   collectively attached as Ex. A to Hickey Decl.) For example, Plaintiffs designated
  2   the following portions of deposition testimony to be shown to the jury at trial:
  3         Q:     Good afternoon, Lieutenant Colonel Stevens. My name is
                   Marshall Shepardson. I represent the family of Staff Sergeant
  4
                   Fontalvo who are the plaintiffs in this case.
  5
                   I really, really appreciate your time and thoughtfulness in
  6                coming down and answering all these questions about something
  7                that you haven’t thought about or looked at in years, and I think
                   on behalf of everybody, we really appreciate it.
  8
  9   (Stevens Dep. at 155:7-15, Ex. A.)
 10         Q:     Gunner Sergeant Wuthrich . . . as I said before, my name is
                   Marshall Shepardson. I represent the family of Staff Sergeant
 11                Fontalvo, and on behalf of them, my clients and the firm, I
 12                would like to thank you very much for taking your time on a
                   regular weekday and coming here and answering a bunch of
 13                questions and racking your brain about stuff you haven’t thought
 14                about in five years. I really appreciate that.
 15   (Wuthrich Dep. at 94:16-25, Ex. A.)
 16         Q:     Mr. Danley, as I said earlier, my name is Marshall Shepardson
 17                and I represent the Fontalvo family. Thank you very much for
                   your time today. We really appreciate it.
 18
                   We understand that you are no longer in the service and have
 19
                   your own life to - - to move forward with, and we really
 20                appreciate you taking a day out for this.
 21   (Danley Dep. at 47:3-10, Ex. A.)
 22         Q:     Good afternoon. My name is Marshall Shepardson, and I
 23                represent the family of Staff Sergeant Fontalvo in this lawsuit.

 24                First off, just thank you very much for coming down and giving
                   us your thoughtful testimony and your time.
 25
 26   (Shelton Dep. at 145:19-24, Ex. A.)
 27         Such testimony is completely irrelevant to any fact, claim, or issue in this
 28   action, and constitutes nothing more than an attempt by Plaintiffs’ counsel to curry


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  1   favor with the witnesses and the jury. Fed. R. Evid. 402. Counsel’s role at trial is
  2   limited to presenting evidence and advocating on behalf of his clients, not to
  3   develop a rapport with the trier of fact. Furthermore, introducing to the jury this
  4   irrelevant testimony from eight different depositions is prejudicial, needlessly
  5   cumulative and a significant waste of time, particularly since the trial is limited to
  6   15 days. Fed. R. Evid. 403. This method of examining witnesses and presenting
  7   evidence should be excluded by the Court to avoid wasting time pursuant to its
  8   authority under Rule 611(a). In addition to excluding such deposition testimony,
  9   and for the same reasons, Plaintiffs’ counsel should be prohibited from interacting
 10   in this manner with the witnesses and the jury present at trial. The only purpose of
 11   such testimony by Plaintiff’s counsel would be to prejudice Sikorsky by trying to
 12   gain favor with the jury.
 13           For the above reasons, Sikorsky respectfully requests that this Court exclude
 14   all portions of Plaintiffs’ designated deposition testimony where counsel panders to
 15   the witness and exclude Plaintiff’s counsel from pandering to witnesses and the jury
 16   at trial.
 17   C.      Plaintiffs’ Counsel Should be Precluded From Suggesting an Amount of
 18           Non-Economic Damages to the Jury
 19           Sikorsky believes that Plaintiffs’ counsel intends on suggesting to the jury at
 20   trial a non-economic damages figure. However, no fixed standard exists for
 21   deciding the amount of non-economic damages in a wrongful death action. With no
 22   objective standard to rely upon, the jury’s determination is vulnerable to
 23   unsubstantiated argument. Therefore, any suggestion by Plaintiffs’ counsel as to the
 24   amount of non-economic damages is highly prejudicial to Sikorsky. Fed. R. Evid.
 25   403.    A recent United States District Court case from the Central District of
 26   California is instructive:
 27           During Plaintiff's rebuttal at closing argument, counsel suggested the jury
 28           award five million dollars in damages. (Trial Tr. Apr. 11, 2011.) It was the
              first time Plaintiff's counsel had mentioned an amount of damages. At the

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  1         time, defense counsel made an objection, which the Court overruled. After
  2         closing, the jury was instructed to decide the amount of damages on a
            subjective basis. The jury was instructed to “use [its] judgment to decide a
  3         reasonable amount based on the evidence and [its] common sense.” (Jury
  4         Instruction No. 12, ECF No. 162.) There was no objective standard given to
            the jury, as “[n]o fixed standard exists for deciding the amount of
  5         noneconomic damages.” Id.
  6
            Upon review of the matter, the Court finds that, with no objective standard to
  7
            rely upon, the jury's determination was vulnerable to unsubstantiated
  8         argument. As such, the Court finds that Plaintiff's suggestion as to amount of
  9         damages was highly prejudicial, particularly since defense counsel had no
            opportunity for rebuttal. On this basis, the Court grants the City's motion for
 10         a new trial only on the issue of damages to prevent a “miscarriage of justice.”
 11         Molski, 481 F.3d at 729. In light of this ruling, the City's remaining
            arguments regarding damages (i.e., excessive damages, “golden rule,” and
 12
            “send a message”) are moot.
 13
 14   Nash v. City of San Bernardino, No. CV0908671RGKFFMX, 2011 WL 13213919,
 15   at *3 (C.D. Cal. Aug. 9, 2011).
 16         For the above reasons, Sikorsky respectfully requests that this Court prohibit
 17   Plaintiffs’ counsel from suggesting to the jury a non-economic damages figure.
 18
 19   Dated: March 23, 2018                 FITZPATRICK & HUNT,
 20                                         PAGANO, AUBERT, LLP

 21                                     By: /s Christopher S. Hickey
 22                                        James W. Hunt
                                           Christopher S. Hickey
 23                                        Attorneys for Defendants
 24                                        Sikorsky Aircraft Corporation and
                                           United Technologies Corporation
 25
 26
 27
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